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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7                                                        Case No. 18-cv-02931-HSG

                                   8
                                         IN RE UBER TEXT MESSAGING                          ORDER OF REFERENCE TO
                                   9                                                        MAGISTRATE JUDGE
                                  10
                                                                                            Re: Dkt. No. 68
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Pursuant to Civil Local Rule 72-1, the pending motion for protective order, see Dkt. No.

                                  14   68, and all future discovery disputes and issues in this case are referred to a Magistrate Judge.

                                  15   Counsel will be advised of the date, time and place of any appearance by notice from the assigned

                                  16   Magistrate Judge. Counsel shall follow any standing orders or other instructions given by the

                                  17   assigned Magistrate Judge. The previously set hearing date of April 11, 2019 is vacated.

                                  18          IT IS SO ORDERED.

                                  19   Dated: 1/4/2019
                                                                                        ______________________________________
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                                                                                        Haywood S. Gilliam, Jr.
                                  21                                                    United States District Judge

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